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IN THE UNITED STATES DISTRICT cOURT "" D'c’
FOR THE wESTERN DISTRICT oF TENNESSEE 05 AUG 29 AH 8_
wEsTERN DIvISION '20

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DeSHAWN MCCLENTON ,
Petitioner,
vs. No. 04-2932-Ml/An

DAVID MILLS ,

Respondent.

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ORDER DENYING LEAVE TO PROCEED M FORMA PAUPERIS
AND
ORDER TO FILE AN AMENDED PETITION

 

Petitioner DeShaWn McClenton, Tennessee Department of
Correction prisoner number 211435, an inmate at the West Tennessee
State Penitentiary (“WTSP”) in Henning, Tennessee, filed a pro §§
petition pursuant to 28 U.S.C. § 2254 on November 15, 2004, along
with a legal memorandum and a motion seeking leave to proceed in
§g;mg pauperis. McClenton paid the habeas filing fee on November
29, 2004. Accordingly, the motion for leave to proceed in ig;ma
pauperis is DENIED as moot. The Clerk shall record the Respondent
as WTSP Warden David Mills.

I. STATE COURT PROCEDURAL HIS'I‘ORY
On or about February 4, 1999, McClenton was convicted

after a jury trial in the Shelby County Criminal Court of

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aggravated robbery and especially aggravated kidnapping. McClenton
was sentenced as a career offender on March 31, 1999, to
consecutive terms of thirty (30) years imprisonment for the
aggravated robbery and sixty (60) years for the especially
aggravated kidnapping. The Tennessee Court of Criminal Appeals
affirmed. State v. McClenton, No. W1999-00879~CCA-R3-CD, 2000 WL
987283 (Tenn. Crim. App. July 11, 2000), perm. app. denied (Tenn.
Feb. 12, 2001).

McClenton filed a prg §§ petition pursuant to the then-
current version of the Tennessee Post-Conviction Procedure Act,
Tenn. Code Ann. §§ 40-30-201 to -222, in the Shelby County Criminal
Court on an unspecified date. Counsel was appointed to represent
McClenton, and the postconviction court conducted an evidentiary
hearing. The postconviction court issued an order denying the
petition on October 9, 2002, and the Tennessee Court of Criminal
Appeals affirmed, McClenton v. State, No. W2002-02745»CCA-R3-PC,
2003 WL 21878537 (Tenn. Crimd App. Aug. 6, 2003), perm. app. denied
(Tenn. Jan. 26, 2004).

II. PETITIONER’S FEDERAL HABEAS CLAIMS

 

In this federal habeas petition, McClenton raises the

following issues:

l. Whether the evidence is sufficient to sustain his
convictions;
2. Whether the trial court erred in ruling that

McClenton's prior convictions were admissible for
impeachment purposes;

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3. Whether the trial court erred by denying
McClenton's motion for proposed jury instructions;

4. Whether the trial court erred by allowing the jury
to visit the line-up room in the Jail;

5. Whether the trial court erred. by' allowing into
evidence only a portion of the self~serving
statement McClenton gave to the police;

6. Whether the trial court erred by allowing the State
to ask McClenton to stand during trial and repeat
for the benefit of the jury phrases used by the
robber as testified to by the victim;

7. Whether the trial court erred by not considering
any of McClenton's mitigating factors at the
sentencing hearing;

8. Whether the trial court erred by imposing
consecutive sentences;

9. Whether the trial court erred in considering
factors relative [sic] for consecutive sentencing;

lO. Whether the trial court erred in determining the
enhancement factors;

ll. Whether the movement and confinement of the victim
were essentially incidental to the accomplishment
of the aggravated robbery and therefore
insufficient to support a separate conviction for
kidnapping; and

12. Whether he received ineffective assistance of
counsel in violation of the Sixth Amendment.

III. ANALYSIS OF THE MERITS
Twenty-eight U.S.C. § 2254(b) states, in pertinent part:
(l) An application for a writ of habeas corpus on
behalf of a person in custody pursuant to the
judgment of a State court shall not be granted

unless it appears that-

(A) the applicant has exhausted the remedies
available in the courts of the State; or

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(B) (i) there is an absence of available State

corrective process; or
(ii) circumstances exist that render such
process ineffective to protect the rights
of the applicant.
(2) An application for a writ of habeas corpus may be
denied on the merits, notwithstanding the failure

of the applicant to exhaust the remedies available

in the courts of the State.

Thus, a habeas petitioner must first exhaust available state
remedies before requesting relief under § 2254. See, e.g.,
Granberrv v. Greer, 481 U.S. 129, 133-34 (1987); Rose v. Lundy, 455
U.S. 509, 519 (1982); Rule 4, Rules Governing Section 2254 Cases in
the United States District Courts (“Section 2254 Rules”). A
petitioner has failed to exhaust his available state remedies if he
has the opportunity to raise his claim by any available state
procedure. 28 U.S.C. § 2254(c); Preiser v. Rodriguez, 411 U.S. 475,
477, 489-90 (1973).

To exhaust his state remedies, the petitioner must have
presented the very issue on which he seeks relief from the federal
courts to the courts of the state that he claims is wrongfully
confining him. Picard v. Connor, 404 U.S. 270, 275-76 (1971); Bp§;
v. Zent, 17 F.3d 155, 160 (6th Cir. 1994). “[A] claim for relief in
habeas corpus must include reference to a specific federal
constitutional guarantee, as well as a statement of the facts which

entitle the petitioner to relief.” Gray v. Netherland, 518 U.S.

152, 162-63 (1996). “‘[T]he substance of a federal habeas corpus

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claim must first be presented to the state courts.'” ldy at 163
(quoting Picard, 404 U.S. at 278). A habeas petitioner does not
satisfy the exhaustion requirement of 28 U.S.C. § 2254(b) “by
presenting the state courts only with the facts necessary to state
a claim for relief.” lgé

In addition, “[i]t is not enough to make a general appeal
to a constitutional guarantee as broad as due process to present
the ‘substance‘ of such a claim to a state court.” ;d; When a
petitioner raises different factual issues under the same legal
theory, he is required to present each factual claim to the highest
state court in order to exhaust his state remedies. O’Sullivan v.
Boerckel, 526 U.S. 838, 845 (1999); see also Pillette v. Foltz, 824
F.2d 494, 496 (6th Cir. 1987). A petitioner has not exhausted his
state remedies if he has merely presented a particular legal theory
to the courts without presenting each factual claim. Pillette, 824
F.Zd at 497-98. Each clainlmust be presented to the state courts as
a matter of federal law. “It is not enough that all the facts
necessary to support the federal clain1 were before the state

courts, or that a somewhat similar state-law claim was nede.”

 

Anderson v. Harless, 459 U.S. 4, 6 (1982); see also Duncan v.
Henry, 513 U.S. 364, 366 (1995) (per curiam) (“If a habeas

petitioner wishes to claim that an evidentiary ruling at a state

court trial denied him the due process of law guaranteed by the

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Fourteenth Amendment, he must say so, not only in federal court,
but in state court.”).

Moreover, the state court decision.must rest primarily on
federal law. Coleman v. Thompson, 501 U.S. 722, 734-35 (1991). If
the state court decides a claim on an independent and adequate
state ground, such asia procedural rule prohibiting the state court
from reaching the merits of the constitutional claim, a petitioner
ordinarily' is barred by this procedural default from seeking
federal habeas review. Wainwright v. Sykes, 433 U.S. 72, 87-88
(1977). However, the state-court decision. need. not explicitly
address the federal claims; instead, it is enough that the
petitioner's brief squarely presents the issue. Smith v. Digmon,
434 U.S. 332 (1978) (per curiam).

Whmn a petitioner's claims have never been actually
presented to the state courts but a state procedural rule prohibits
the state court from extending further consideration to them, the
claims are deemed exhausted, but procedurally barred. Coleman, 501
U.S. at 752-53; Teague 'v. Lane, 489 U.S. 288, 297-99 (1989);
Wainwright, 433 U.S. at 87-88; Bg§p, 17 F.3d at 160.

A petitioner confronted with either variety of procedural
default must show cause for the default and prejudice to obtain
federal court review of his claim. Teague, 489 U.S. at 297-99;
Wainwright, 433 U.S. at 87-88. Cause for a procedural default

depends on some “objective factor external to the defense” that

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interfered with the petitioner's efforts to comply with the
procedural rule. Coleman, 501 U.S. at 752-53; Murrav v. Carrier,
477 U.S. 478, 488 (1986).

A. petitionerl may avoid the procedural bar, and the
necessity of showing cause and prejudice, by demonstrating “that
failure to consider the claims will result in a fundamental
miscarriage of justice.” Coleman, 501 U.S. at 750. The petitioner
must show that “‘a constitutional violation has probably resulted
in the conviction of one who is actually innocent.’” Schlup v.

Delo, 513 U.S. 298, 327 (1995) (quoting Murray, 477 U.S. at 496).

 

“To establish the requisite probability, the petitioner must show
that it is more likely than not that no reasonable juror would have
convicted him in the light of the new evidence.” ld;

This is a mixed petition containing both exhausted and
unexhausted claims. In particular, Claims 8, 9, and 10 rely, in
part, on Blakely v. Washinqton, 124 S. Ct. 2531 (2004), and United
States v. Booker, 375 F.3d 508 (7th Cir. 2004), afflg, 125 S. Ct.
738 (2005). The petition is silent about any attempt by McClenton
to exhaust his Blakely and Booker claims in state court. Moreover,
the Court is unable to conclude that no avenues exist for
exhausting those claims. A defendant may file a motion in the trial
court to reopen his postconviction petition if

(1) The claim in the motion is based upon a final

ruling of an appellate court establishing a
constitutional right that was not recognized as existing

at the time of trial, if retrospective application of
that right is required. Such motion must be filed within

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one (1) year of the ruling of the highest state appellate

court or the United States supreme court establishing a

constitutional right that was not recognized as existing

at the time of trial . . . . ; and

(4) It appears that the facts underlying the claim,

if true, Would establish by clear and convincing evidence

that the petitioner is entitled to have the conviction

set aside or the sentence reduced.
Tenn. Code Ann. § 40-30-117(a). The petition does not disclose
whether' McClenton filed aa motion to reopen. his postconviction
petition and appealed any adverse ruling to the Tennessee Court of
Criminal Appeals, as provided by Tenn. Code Ann. § 40-30-117(€).
Accordingly, McClenton has failed to demonstrate that he has
exhausted this claim in state court.

The Supreme Court has held that a mixed petition
containing both exhausted and unexhausted claims must be dismissed
without prejudice in order to afford the state courts the
opportunity to address the unexhausted claims. See Rose v. Lundy,
455 U.S. 509, 518-19 (1982). Alternatively, the petitioner may
choose to amend his petition to assert only the exhausted claims.
Id. at 500.l Accordingly, the Petitioner is ORDERED, within thirty
(30) days of the date of entry of this order, to advise the Court

whether he intends to return to state court to attempt to exhaust

the issues set forth in claims 8, 9, and 10, to the extent they

 

1 In Rhines v. Weber, 125 S. Ct. 1528 (2005) (publication pages
unavailable), the Supreme Court reaffirmed its previous holding in Rose but
stated that, in light of the one-year limitations period contained in 28 U.S.C.
§ 2244(d)(1), that did not exist when the decision in Rose was issued, district
courts have discretion, under “1imited circumstances,” to hold habeas petitions
in abeyance while a petitioner is presenting his claims to the state courts.

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rely on Blakely and Booker and, to the extent he chooses not to
exhaust those claims, whether he intends to withdraw them from this
Court's consideration in order to obtain a decision on the
remaining claims in this petition. The Petitioner is cautioned
that, if he chooses not to exhaust his Blakely and Booker claims in
state court, and he chooses not to withdraw them, this mixed
petition must be dismissed without prejudice pursuant to Rose v.
Lundy. If the Petitioner chooses to exhaust his Blakely and Booker
claims in state court, the Court will issue an order holding this
petition in abeyance, pursuant to Rhines v. Weber, provided that
the motion to reopen the state postconviction petition is filed in
state court within thirty (30) days after the order granting the
stay is entered. Failure to timely respond to this order will

result in the dismissal of this mixed petition without prejudice

pursuant to Rose v. Lundy.

IT IS SO ORDERED this §§ 2 day of , 2005.

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JO PHIPPS MCCALLA
TED S'I‘A'I‘ES DIS'I‘RICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:04-CV-02932 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

